   EXHIBIT C




Griffith Declaration
                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

                                                                        )
In re:                                                                  )   Chapter 11
                                                                        )
RTI HOLDING COMPANY, LLC,1                                              )   Case No. 20-12456 (JTD)
                                                                        )
                                                                        )
                                   Debtors.                             )   (Jointly Administered)
                                                                        )

       DECLARATION OF STEVEN F. GRIFFITH, JR. IN SUPPORT OF
     DEBTORS’ APPLICATION PURSUANT TO SECTION 327(e) OF THE
 BANKRUPTCY CODE, RULE 2014 OF THE FEDERAL RULES OF BANKRUPTCY
 PROCEDURE, AND LOCAL RULE 2014-1 FOR AN ORDER AUTHORIZING THE
RETENTION AND EMPLOYMENT OF BAKER DONELSON BEARMAN CALDWELL
               & BERKOWITZ, PC, AS SPECIAL COUNSEL
                   TO THE DEBTORS AND DEBTORS
        IN POSSESSION NUNC PRO TUNC TO THE PETITION DATE

                 Pursuant to Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), Steven F. Griffith, Jr. declares as follows:




1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are
as follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD,
LLC (6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC
(8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity,
LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC
(6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC
(7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC
(7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise,
LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New Hampshire
Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817);
RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535);
RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT
Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT
Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant,
Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of
Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472);
Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing
address is 333 East Broadway Ave., Maryville, TN 37804.
                   1.   I am a shareholder of the firm of Baker Donelson Bearman Caldwell &

Berkowitz, PC (“Baker Donelson” or the “Firm”), with offices in New Orleans, Louisiana. This

Declaration is submitted in support of the Debtors’ Application for Order Under Sections 327(e)

of the Bankruptcy Code Authorizing the Employment and Retention of Baker Donelson Bearman

Caldwell & Berkowitz, PC as Special Counsel to the Debtors and Debtors in Possession Nunc

Pro Tunc to the Petition Date (the “Application”). Baker Donelson has been providing legal

services in the areas of real estate, ERISA, and labor and employment, including litigation in

these areas, to the Debtors since August 12, 2015.

                   2.   To my knowledge, neither I, the Firm, nor any members of the Firm,

insofar as I have been able to ascertain, has any connection with the above-captioned debtors and

debtors in possession (the “Debtors”), their creditors, or any other parties in interest herein, or

their respective attorneys except as set forth herein and as described in the Application.

                   3.   To my knowledge, Baker Donelson does not represent or hold any interest

adverse to the Debtors or their estates with respect to the matters on which it is to be engaged.

                   4.   During the one-year period prior to the commencement of these chapter 11

cases, Baker Donelson has received $1,861,109.36 from the Debtors for professional fees and

expenses incurred prior to the Petition Date. During the 90 days immediately preceding the

Petition Date, Baker Donelson received payments totaling $760,387.35, the entirety of which

was applied to services rendered between July 2020 and the Petition Date. Other than as set

forth herein, Baker Donelson did not receive any payments from the Debtors during the 90 days

immediately preceding the Petition Date. Baker Donelson is current as of the Petition Date.



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                   5.   In connection with its proposed retention by the Debtors in these

chapter 11 cases, Baker Donelson undertook to determine whether it had any conflicts or other

relationships that might cause it not to be disinterested or to hold or represent an interest adverse

to the Debtors. Specifically, Baker Donelson obtained from the Debtors and/or their

representatives the names of individuals and entities that may be parties in interest in these

chapter 11 cases (“Potential Parties in Interest”), and such parties are listed on Schedule 1

annexed hereto.

                   6.   To the best of my knowledge and belief, Baker Donelson has not

represented any Potential Parties in Interest in connection with matters relating to the Debtors,

their estates, assets, or business and will not represent other entities which are creditors of, or

have other relationships to, the Debtors in matters relating to these chapter 11 cases except as set

forth herein.

                   7.   Pursuant to the Appendix B Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed Under United States Code by Attorneys in

Larger Chapter 11 Cases (the “2013 UST Guidelines”), Baker Donelson makes certain

disclosures herein.

                   8.   Pursuant to Part D1 of the 2013 UST Guidelines, Baker Donelson is

seeking employment as special counsel for the Debtors under section 327 of the Bankruptcy

Code and it hereby provides the following responses set forth below:




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 Questions required by Part
                                             Answer:                Further explanation:
 D1 of 2013 UST Guidelines:
Did you agree to any               No
variations from, or alternatives
to, your standard or customary
billing arrangements for this
engagement?
Do any of the professionals        No
included in this engagement
vary their rate based on the
geographic location of the
bankruptcy case?
If you represented the client in   My rate, and that of other
the 12 months prepetition,         attorneys with the Firm, are
disclose your billing rates and    disclosed in paragraph 13
material financial terms for the   below. They were no
prepetition engagement,            adjustments post-petition, and
including any adjustments          were last adjusted in January
during the 12 months               2020, just as with all other
prepetition. If your billing       clients of the Firm.
rates and material financial
terms have changed
postpetition, explain the
difference and reasons for the
difference.
Has your client approved your      Yes
respective budget and staffing
plan, and, if so, for what
budget period?




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                   9.    In addition, the Firm currently represents, or has represented in the past,

the following Potential Parties in Interest in various matters which were not related to the Firm’s

representation of the Debtors:

                         a.      National Retail Properties, L.P.

                         b.      Boston Properties

                         c.      VERETT, Inc.

                         d.      Brixmor Property Group

                         e.      Newburger-Andes & Co.

                         f.      Kohan Retail Investment Group, LLC

                         g.      Chik-Fil-A Inc.

                         h.      Brookfield Properties

                         i.      Retail Properties of America (RPAI)

                         j.      Macerich

                   10.   I am not related or connected to and, to the best of my knowledge, no

other professional of Baker Donelson who will work on this engagement is related or connected

to, any United States Bankruptcy Judge for the District of Delaware or any employee in the

Office of the United States Trustee for the District of Delaware.

                   11.   From time to time, Baker Donelson may work with Pachulski Stang Ziehl

& Jones LLP (“PSZJ”), the Debtors’ general bankruptcy counsel, through other entities that are

clients of both Baker Donelson and PSZJ. From time to time, Baker Donelson may work with




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one or more of the Debtors’ other attorneys through other entities that are clients of both Baker

Donelson and such other attorneys.

                   12.     Baker Donelson and certain of its members, of counsel, and associates

may have in the past represented, may currently represent, and likely in the future will represent

stockholders and creditors of the Debtors and other parties of interest in connection with matters

unrelated to the Debtors and these cases. At this time, Baker Donelson is not aware of such

representations except as noted above. If the Firm identifies any further such representations, the

Firm shall make further disclosures as may be appropriate at that time.

                   13.     The Firm intends to apply to the Court for allowance of compensation and

reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules and the guidelines promulgated by the United

States Trustee, and pursuant to any additional procedures that may be established by the Court in

these cases. Baker Donelson’s allowed fees will be paid by the Debtors. Baker Donelson’s fees

for professional services are based upon its hourly rates, which are periodically adjusted. The

names and hourly rates for the Firm’s professionals who will primarily be responsible for this

matter are:

                   Name of Professional         Title                      Hourly Rate
                   D. Keith Andress             Partner                    $556
                   Steven F. Griffith, Jr.      Partner                    $555
                   Andrea Bailey Powers         Partner                    $539
                   Ross N. Cohen                Of Counsel                 $506
                   Eve A. Cann                  Partner                    $460
                   Jackson Cates                Associate                  $308


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                   14.   The hourly rates set forth above are subject to periodic adjustments to

reflect market conditions. Other attorneys and paralegals may from time to time serve the

Debtors in connection with the matters herein described and other matters as they arise. These

rates are the Firm's standard hourly rates for work of this nature. These rates are set at a level

designed to fairly compensate the Firm for the work of its attorneys and paralegals and to cover

fixed and routine overhead expenses. It is the Firm’s policy to charge its clients in all areas of

practice for all other expenses incurred in connection with the client’s case. The expenses

charged to clients include, among other things, facsimile charges, mail and express mail charges,

special or hand delivery charges, document retrieval, photocopying charges, charges for mailing

supplies (including, without limitation, envelopes and labels) provided by the Firm to outside

copying services for use in mass mailings, travel expenses, expenses for “working meals,”

computerized research, transcription costs, as well as non-ordinary overhead expenses such as

secretarial and other overtime. The Firm will charge the Debtors for these expenses in a manner

and at rates consistent with charges made generally to the Firm’s other clients.

                   15.   No promises have been received by the Firm or by any member, of

counsel, or associate thereof as to compensation in connection with these cases other than in

accordance with the provisions of the Bankruptcy Code. The Firm has no agreement with any

other entity to share with such entity any compensation received by the Firm in connection with

these chapter 11 cases, except among the members, of counsel, and associates of the Firm.

                             [Remainder of page intentionally left blank]




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                   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.


Dated: October 15, 2020                                  BAKER DONELSON BEARMAN
                                                         CALDWELL & BERKOWITZ, PC


                                                         /s/ Steven F. Griffith, Jr.
                                                         Steven F. Griffith, Jr.
                                                         Shareholder

                                                         Proposed Special Counsel to the Debtors
                                                         and Debtors in Possession




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      SCHEDULE 1

Potential Parties in Interest
Debtors and Subsidiaries

RTI Holding Company, LLC
Ruby Tuesday, Inc.
Ruby Tuesday, LLC
RTBD, LLC
RT of Carroll County, LLC
RT Denver Franchise, L.P.
RT Detroit Franchise, LLC
RT Distributing, LLC
RT Finance, LLC
RT FL Gift Cards, Inc.
RT Florida Equity, LLC
RT Franchise Acquisition, LLC
RT of Fruitland, Inc.
RT Indianapolis Franchise, LLC
RT Jonesboro Club
RT KCMO Franchise, LLC
RT Kentucky Restaurant Holdings, LLC
RT Las Vegas Franchise, LLC
RT Long Island Franchise, LLC
RT of Maryland, LLC
RT Michiana Franchise, LLC
RT Michigan Franchise, LLC
RT Minneapolis Franchise, LLC
RT Minneapolis Holdings, LLC
RT New England Franchise, LLC
RT New Hampshire Restaurant Holdings, LLC
RT New York Franchise, LLC
RT Omaha Franchise, LLC
RT Omaha Holdings, LLC
RT One Percent Holdings, LLC
RT One Percent Holdings II, LLC
RT Orlando Franchise, LP
RT Restaurant Services, LLC
RT South Florida Franchise, LP
RT Southwest Franchise, LLC
RT St. Louis Franchise, LLC
RT Tampa Franchise, LP
RT Western Missouri Franchise, LLC
RT West Palm Beach Franchise, LP
RTTA, LP
RTT Texas, Inc.
RTTT, LLC
Ruby Tuesday of Allegany County, Inc.
Ruby Tuesday of Bryant, Inc.
Ruby Tuesday of Columbia, Inc.
Ruby Tuesday of Frederick, Inc.
Ruby Tuesday of Linthicum, Inc.
Ruby Tuesday of Marley Station, Inc.
Ruby Tuesday of Pocomoke City, Inc.
Ruby Tuesday of Russellville, Inc.
Ruby Tuesday of Salisbury, Inc.

Related Parties

Beth, Susan
Clarry, Ellen
Dorsey, Michael
Harmon, Jennifer
Hashim, Aziz
Lederman, Shawn
Medley, Stephanie Burke
National Restaurant Development
NRD Capital, LLC
NRD Capital Management II, LLC
NRD Partners I, L.P.
NRD Partners II, L.P.
NRD Partners III, L.P.
NRD RT Holdings, LLC
RT Investment Company, LLC
Strategic Financial Intermediation II, LLC
White, Darrin

Lenders and Related Parties

Crescent Mezzanine
Goldman Sachs Bank USA
Goldman Sachs Specialty Lending Group, L.P.
Goldman Sachs Specialty Lending Holdings, Inc.
TCW Asset Management Company, LLC
TCW Brazos Fund LLC
TCW Direct Lending LLC
TCW Skyline Lending, L.P.
Zions Bancorporation, N.A., dba California Bank & Trust

Sale/Leaseback Lessors

Limestone Ruby, LLC
National Retail Properties, L.P.
OREOF 2017 Ruby LLC
SCF RC Funding IV LLC


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Store Master Funding XIII LLC
Store Master Funding XIV LLC

Other Major Creditors

Aberle, Paul & Heinrich
Affinity9 Realty, LLC
AHGIE, LLC
Allen Kushynski, Trustee of the Kushynski Family Trust
Avenues Mall, LLC
Bennett, Patricia Ann
Bennett Partners, LLLP
Bettis, Daniel F.
Bishop Jr., Earnest
Bismark Properties
Brown Capital LLLP
Brown, Cecilia A.
Buffalo-Bloomfield Assoc., LLC
Burnett Family Trust Dated 03-07-2005
Burnett, Molly
Buettgen, James J.
CGI 3 LP (fka RT Beaufort, LLC)
Chazparem, LLC
Clark, Myra C.
Cope, Collin
Crossgates Mall Company Newco LLC
Crystal Run Newco LLC
DATO Food Group RT, LLC
Duffy, Marguerite
Eldridge, Richard H.
FEB Realty Mebane LLC
French Associates I, LLC
Friedman, Anthony J.
Grand IX Ventures, LLC
Grant, Kimberly
Grau, Henry
HaiYang, Inc.
Hamilton Mall Realty LLC
Hepp, Andrew
Hobart Corporation
Holyoke Mall Company, LP
Hunt, Pfilip G.
Ibrahim, Nicolas
Interstate Augusta Properties LLC
J Artson, LLC
Kagasoff, Denny L.


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Lanham LLLP
Lapidus, Dennis
Laxmi, Jay Shree
LeBoeuf, Robert
Lebow, Lawrence N.
Lebow, Jonathan
Lusavi Pagosa, LLC
Macerich Deptford LLC
May, Scarlett
Mazza LaVale LLC
Mazza Lexington LLC
McClenagan Jr., Robert
Mesa Clemmons, LLC
Mothershed, J. Russell
National Retail Properties, LP
Nelson, Craig
Northeast Properties, LLC
Oakdale Mall II LLC
Papazian Sherman Way LLC
Parkway Lodging Realty, LLC
Paul, Eric M.
PBM Cape Coral RT, LLC
Performance Food Group
Piet, Edward M.
P&M Investment Company, LLC
PMP Properties
Quadre Investments L.P.
Roder, Mike
Route Ten, LLC
RPAI Worcester Lincoln Plaza LLC
RT Henderson, LLC
RT Orlando Investment, LLC
Rubicon Global LLC
Scoggins, Andrew
Shreibman, Amnon
South Riding Owner, LLC
St John and Partners Advertising and Public Relations Inc.
Strategic Equipment LLC
Sycamore Springs LLC
TAU South LLC (fka CNL Funding 2000-A, L)
The Marshall Family Trust dated February 14, 2000
The Nicholson Trust Agreement dated October 1, 1990
Times Square Tower Associates LLC
Tomaszweicz Trust dated November 18, 2002
Van Horne, Jeff
Vestar – CPT Tempe


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VOMC Company Inc.
Wallace III, Sidney
Wendover ZS LLC
Wenne, LLC
Winters Chapel Plaza, LLC
Young, Mark




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